USDC IN/ND case 3:20-cv-00115-RLM-MGG document 6 filed 01/07/20 page 1 of 5
                                                                                       Filed: 1/7/2020 2:33 PM
                                                                                                          Clerk
                                                                                       Miami County, Indiana




                      IN THE CIRCUIT COURT OF MIAMI COUNTY
                                 STATE OF INDIANA

GEORGE STRICKLIN as Administrator of the
ESTATE OF HILDA STRICKLIN
     Plaintiff
                                                             52C01-2001-CT-000014
                                                  CAUSE NO. _____________________
v.
                                                                Miami Circuit Court

WALTER FETTERHOFF

and

MICHIGAN PRODUCE HAULERS, INC.
     Defendants

Serve:         Robert A. Gilliland
               1340 Locust Street
               Fremont, MI 49412

                     COMPLAINT AND DEMAND FOR JURY TRIAL

         Comes the Plaintiff, George Stricklin as Administrator of the Estate of Hilda

Stricklin, by and through counsel, John L. Smith, and for his cause of action against the

Defendants Walter Fetterhoff and Michigan Produce Haulers, Inc. hereby states as

follows:

         1.    At all relevant times, the Plaintiff was a resident of Prestonsburg,

Commonwealth of Kentucky.

         2.    At all relevant times, the Defendant, Walter Fetterhoff, was a resident of

Hesperia, Michigan, and acting within the course and scope of his employment with

Defendant, Michigan Produce Haulers, Inc.

         3.    George Stricklin was appointed Administrator of the Estate of Hilda Stricklin

on December 17, 2019 in Floyd County, Commonwealth of Kentucky and he was the

husband of Hilda Stricklin.
USDC IN/ND case 3:20-cv-00115-RLM-MGG document 6 filed 01/07/20 page 2 of 5




       4.     At all relevant times, the Defendant, Michigan Produce Haulers, Inc., was a

Foreign Corporation authorized to do business and is doing business in Miami County,

State of Indiana and employed Defendant Walter Fetterhoff.

       5.     The events described herein occurred in Miami County, State of Indiana,

and this Court has proper venue in this action.

                                          COUNT I

       6.     On or about December 8, 2019, the Defendant, Walter Fetterhoff, was

negligent in the operation, maintenance, and control of a 2007 International Prostar when

he rear-ended the vehicle Hilda Stricklin was operating.

       7. Hilda Stricklin was stopped at the stop light southbound in the driving lane on

U.S. 31 at the intersection with Business 31 in Peru, Miami County, Indiana when the

Defendant Walter Fetterhoff, who was traveling too fast of a speed to stop on southbound

on U.S. 31 and who failed to keep a proper lookout and failed to properly control his

vehicle causing him to strike struck the rear of Hilda Stricklin’s vehicle causing her vehicle

to be forced through the intersection and into the median and causing her death.

       8.     As a direct and proximate result of the negligent acts and conduct of

Defendant, Walter Fetterhoff, the Estate administered by the Plaintiff, suffered great

losses and seeks to recover for the death of Hilda Stricklin., including recovery for funeral

and burial expenses, expenses incurred in the administration of decedent’s estate,

reasonable attorney fees incurred in pursuing this claim, compensatory damages for the

wrongful death of Hilda Stricklin, and all other damages allowed by law; all damages in

excess of the minimal amount necessary to confer jurisdiction upon this Court.

       9.     The negligence of Defendant, Walter Fetterhoff, in the use of a motor
USDC IN/ND case 3:20-cv-00115-RLM-MGG document 6 filed 01/07/20 page 3 of 5




vehicle and/or his acts and/or omissions being otherwise negligent are the direct and

proximate cause of all the damages suffered by the Plaintiff, or are a substantial cause in

causing same.

                                        COUNT II

       10.    On or about the aforementioned date, the Defendant, Michigan Produce

Haulers, Inc. was the owner of the vehicle driven by Defendant Fetterhoff that was

involved in the subject collision.

       11. At all times relevant, Defendant Fetterhoff was employed by, and acting within

the scope of his employment as an employee for Defendant Michigan Produce Haulers,

Inc. or one of its agents, subsidiaries, distributorships, or owned businesses or

companies, or corporations, and thereby causing the aforementioned Defendant

Michigan Produce Haulers, Inc. to be either directly or vicariously liable for the injuries

caused to Plaintiff.

       12.    As a direct and proximate result of the acts and conduct of Defendant,

Michigan Produce Haulers, Inc., the Estate administered by the Plaintiff suffered great

losses and seeks to recover for the death of Hilda Stricklin including recovery for funeral

and burial expenses, expenses incurred in the administration of decedent’s estate,

reasonable attorney fees incurred in pursuing this claim, compensatory damages for the

wrongful death of Hilda Stricklin, and all other damages allowed by law ; all damages in

excess of the minimal amount necessary to confer jurisdiction upon this Court.

       13.    The negligence of Defendant Michigan Produce Haulers, Inc. or one of its

employees acting within the scope of their employment, agents, subsidiaries, owned

business, companies or corporations in their driving operations and/or their acts and/or
USDC IN/ND case 3:20-cv-00115-RLM-MGG document 6 filed 01/07/20 page 4 of 5




omissions being otherwise negligent are the direct and proximate cause of all damages

suffered by Plaintiff, or are substantial cause in causing the same.

       WHEREFORE, Plaintiff, George Stricklin as Administrator of the Estate of Hilda

Stricklin, demands relief against Defendants Walter Fetterhoff and Michigan Produce

Haulers, Inc.

       as follows:

       1.       Judgment against the Defendants, for compensatory damages for the

                wrongful death of Hilda Stricklin in an amount in excess of the amount

                necessary to invoke the jurisdiction of this court and reasonably calculated

                to compensate George Stricklin as Administrator of the Estate of Hilda

                Stricklin for his damages, to include the following:

                a.     All damages entitled under the Indiana Wrongful Death Act, Indiana

                       Code Section 34-23 et seq;

                b.     An award of attorney fees and costs entitled under the Indiana

                       Wrongful Death Act, Indiana 34-23 et seq.

       2.       Trial by jury;

       3.       Any and all interest to which Plaintiff may be adjudicated to be entitled to

                from the date of filing this action; and

       4.       Any and all other appropriate relief to which Plaintiff may appear to be

                justly entitled.
USDC IN/ND case 3:20-cv-00115-RLM-MGG document 6 filed 01/07/20 page 5 of 5




                                               Respectfully submitted,

                                               /s/ John L. Smith
                                               ___________________________
                                               John L. Smith         #26921-31
                                               Morgan & Morgan
                                               611 E. Spring Street
                                               New Albany, IN 47150
                                               812.542.0048 (t)
                                               812.941.4026 (f)
                                               Counsel for Plaintiff


       Comes now the Plaintiff, George Stricklin as Administrator of the Estate of Hilda

Stricklin, and demands a trial by jury on all issues so triable.

                                               /s/ John L. Smith
                                               ___________________________
                                               John L. Smith      #26921-31
